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				&lt;p&gt;&lt;strong&gt;&lt;font face="ARIAL" size="4"&gt;BARKUS v. STATE&lt;/font&gt;&lt;font face="ARIAL" size="2"&gt;&lt;br&gt;2024 OK CR 25&lt;/font&gt;&lt;br&gt;Case Number: &lt;span&gt;F-2022-1072&lt;/span&gt;&lt;br&gt;Decided: 08/29/2024&lt;br&gt;PHILLIP LEE BARKUS, Appellant v. THE STATE OF OKLAHOMA, Appellee&lt;br&gt;&lt;/strong&gt;&lt;/p&gt;&lt;hr&gt;
&lt;font size="1"&gt;Cite as: 2024 OK CR 25, __  __&lt;/font&gt;&lt;hr&gt;

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&lt;div class="de-style"&gt;
&lt;p&gt;&amp;#160;&lt;/p&gt;
&lt;/div&gt;

&lt;p&gt;&lt;u&gt;&lt;b&gt;OPINION&lt;/b&gt;&lt;/u&gt;&lt;/p&gt;

&lt;div class="de-writing"&gt;
&lt;div class="de-author"&gt;
&lt;p&gt;&lt;b&gt;LEWIS, JUDGE:&lt;/b&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#182;1 Phillip Lee Barkus, Appellant, was tried without a jury and found guilty of Count 1, possession of a firearm after former conviction of a felony, in violation of &lt;span&gt;21 O.S.Supp.2019, &amp;#167; 1283&lt;/span&gt;&lt;span&gt;47 O.S.Supp.2020, &amp;#167; 11-902&lt;/span&gt;&lt;span&gt;21 O.S.Supp.2012, &amp;#167; 1289.9&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&lt;u&gt;&lt;b&gt;Facts&lt;/b&gt;&lt;/u&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;2 Appellant was apprehended by a sheriff's deputy who observed his pickup disobey a stop sign at Allen and Broadway streets in Holdenville. The driver's identification showed he was Phillip Barkus. Noticing the smell of alcohol, several sobriety tests followed that validated the deputy's suspicions of intoxication and led to Appellant's arrest. An inventory search yielded a rifle in the cab behind the driver's seat. Appellant admitted possessing the gun. At the bench trial, counsel stipulated to eleven prior felony convictions.&lt;/p&gt;

&lt;p&gt;&lt;u&gt;&lt;b&gt;Analysis&lt;/b&gt;&lt;/u&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;3 In Proposition One, Appellant asserts that he is a Seminole Indian and challenges the State's legal authority to prosecute him for crimes committed in Indian Country. &lt;i&gt;McGirt v. Oklahoma,&lt;/i&gt; 591 U.S. 894 (2020).&lt;span&gt;&lt;/span&gt;&lt;i&gt;de novo. See Parker v. State,&lt;/i&gt; &lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;span&gt;495 P.3d 653&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;4 Appellant's burden was to meet the &lt;i&gt;Rogers &lt;/i&gt;test&lt;span&gt;&lt;/span&gt;&lt;i&gt;prima facie&lt;/i&gt; evidence that he has some Indian blood and that he was recognized as an Indian by a tribe or the federal government." &lt;i&gt;Id.&lt;/i&gt;, &lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;i&gt;State v. Klindt,&lt;/i&gt; &lt;span&gt;1989 OK CR 75&lt;/span&gt;&lt;span&gt;782 P.2d 401&lt;/span&gt;&lt;i&gt;Id&lt;/i&gt;.&lt;/p&gt;

&lt;p&gt;&amp;#182;5 &lt;i&gt;Prima facie&lt;/i&gt; evidence is that which is "good and sufficient on its face, i.e., sufficient to establish a given fact . . . and which if not rebutted or contradicted, will remain sufficient to sustain a judgment in favor of the issue which it supports." &lt;i&gt;Wadkins v. State&lt;/i&gt;, &lt;span&gt;2022 OK CR 2&lt;/span&gt;&lt;span&gt;504 P.3d 605&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;6 Appellant's Seminole Freedmen&lt;span&gt;&lt;/span&gt;&lt;span&gt;&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;7 In his own testimony, Appellant admitted that he lacked any documentary evidence showing his biological relation to any person on the Seminole roll of Indians by blood. The Seminole Nation itself had previously rejected his request to alter his citizenship from Freedmen based on his Estelusti ancestry to Indian by blood.&lt;/p&gt;

&lt;p&gt;&amp;#182;8 The trial court found that while Appellant is a Seminole tribal member by virtue of his Estelusti ancestry, he was not an Indian under the &lt;i&gt;Rogers &lt;/i&gt;test because he failed to show some Indian blood. On &lt;i&gt;de novo &lt;/i&gt;review, we find these factual rulings were not clearly erroneous and the legal conclusions are sound.&lt;/p&gt;

&lt;p&gt;&amp;#182;9 This Court has yet to determine whether &lt;i&gt;any&lt;/i&gt; DNA result would prove Indian blood for &lt;i&gt;McGirt &lt;/i&gt;purposes.&lt;span&gt;&lt;/span&gt;&lt;span&gt;&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;10 Such a determination would, at minimum, require expert testimony on the current state of DNA technology for proving ethnic ancestry, the scientific validity of the specific tests, the integrity of the sample, and the acceptance of such evidence in the relevant community. &lt;i&gt;See generally Taylor v. State, &lt;/i&gt;&lt;span&gt;1995 OK CR 10&lt;/span&gt;&lt;span&gt;889 P.2d 319&lt;/span&gt;&lt;i&gt;Daubert&lt;/i&gt; &lt;i&gt;v. Merrell Dow Pharmaceuticals, &lt;/i&gt;509 U.S. 579 (1993)&lt;i&gt; &lt;/i&gt;to DNA profiling technology).&lt;/p&gt;

&lt;p&gt;&amp;#182;11 Appellant's Estelusti ancestry, his Freedmen citizenship, and his lifelong association with the Seminole Nation are not open to doubt. Appellant satisfies the recognition element of the &lt;i&gt;Rogers&lt;/i&gt; test. But he has not shown the required &lt;i&gt;prima facie&lt;/i&gt; evidence that he has some degree of Indian blood, and this disposes of his &lt;i&gt;McGirt &lt;/i&gt;claim. Proposition One is denied.&lt;/p&gt;

&lt;p&gt;&lt;b&gt;DECISION&lt;/b&gt;&lt;/p&gt;

&lt;div class="de-action-clause"&gt;
&lt;blockquote&gt;&amp;#182;12 The judgment and sentence is &lt;b&gt;AFFIRMED&lt;/b&gt;. Pursuant to Rule 3.15, &lt;i&gt;Rules of the Oklahoma Court of Criminal Appeals&lt;/i&gt;, Title 22, Ch.18, App. (2024), the &lt;b&gt;MANDATE&lt;/b&gt; is &lt;b&gt;ORDERED&lt;/b&gt; issued upon delivery and filing of this decision.&lt;/blockquote&gt;
&lt;/div&gt;

&lt;div class="de-origin"&gt;
&lt;p&gt;&lt;b&gt;APPEAL FROM THE DISTRICT COURT OF HUGHES COUNTY&lt;/b&gt;&lt;br&gt;
&lt;b&gt;THE HONORABLE TRISHA D. SMITH, ASSOC. DISTRICT JUDGE&lt;/b&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;center&gt;
&lt;table border="0"&gt;
	&lt;tbody&gt;
		&lt;tr&gt;
			&lt;td&gt;
			&lt;p&gt;&lt;b&gt;APPEARANCES AT TRIAL&lt;/b&gt;&lt;/p&gt;

			&lt;p&gt;KENNETH WATSON&lt;br&gt;
			228 ROBERT S. KERR #925&lt;br&gt;
			OKLAHOMA CITY, OK 73102&lt;br&gt;
			ATTORNEY FOR DEFENDANT&lt;/p&gt;

			&lt;p&gt;JAMES E. TILLISON&lt;br&gt;
			ASST. DISTRICT ATTORNEY&lt;br&gt;
			200 N. BROADWAY&lt;br&gt;
			HOLDENVILLE, OK 73102&lt;br&gt;
			ATTORNEY FOR STATE&lt;/p&gt;
			&lt;/td&gt;
			&lt;td&gt;
			&lt;p&gt;&lt;b&gt;APPEARANCES ON APPEAL&lt;/b&gt;&lt;/p&gt;

			&lt;p&gt;KENNETH WATSON&lt;br&gt;
			228 ROBERT S. KERR #925&lt;br&gt;
			OKLAHOMA CITY, OK 73102&lt;br&gt;
			ATTORNEY FOR APPELLANT&lt;/p&gt;

			&lt;p&gt;GENTNER DRUMMOND&lt;br&gt;
			ATTORNEY GENERAL&lt;br&gt;
			SAMANTHA K. OARD&lt;br&gt;
			ASST. ATTORNEY GENERAL&lt;br&gt;
			313 N.E. 21ST ST.&lt;br&gt;
			OKLAHOMA CITY, OK 73105&lt;br&gt;
			ATTORNEYS FOR APPELLEE&lt;/p&gt;
			&lt;/td&gt;
		&lt;/tr&gt;
	&lt;/tbody&gt;
&lt;/table&gt;
&lt;/center&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;div class="de-vote"&gt;
&lt;p&gt;&lt;b&gt;OPINION BY: LEWIS, J.&lt;/b&gt;&lt;br&gt;
ROWLAND, P.J.: Concur&lt;br&gt;
MUSSEMAN, V.P.J.: Specially Concur&lt;br&gt;
LUMPKIN, J.: Concur in Result&lt;br&gt;
HUDSON, J: Specially Concur&lt;/p&gt;
&lt;/div&gt;

&lt;div class="fn-container"&gt;
&lt;p&gt;&lt;b&gt;FOOTNOTES&lt;/b&gt;&lt;/p&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;i&gt;See&lt;/i&gt; &lt;i&gt;Purdom v. State&lt;/i&gt;, &lt;span&gt;2022 OK CR 31&lt;/span&gt;&lt;i&gt;McGirt&lt;/i&gt; purposes).&lt;/p&gt;
&lt;/div&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;i&gt;United States v. Rogers,&lt;/i&gt; 45 U.S. 4 How. 567 (1846). &lt;i&gt;See Parker, &lt;/i&gt;&lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;span&gt;495 P.3d 653&lt;/span&gt;&lt;i&gt;Rogers &lt;/i&gt;test for Indian status).&lt;/p&gt;
&lt;/div&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;i&gt;See Davis ex rel. Davis v. United States&lt;/i&gt;, 343 F.3d 1282, 1286-87 (10th Cir. 2003).&lt;/p&gt;
&lt;/div&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;i&gt;Parker &lt;/i&gt;involved an alleged Cherokee Freedmen descendant who attempted to offer DNA tests indicating some Indian blood, his claim failed on the recognition element of the &lt;i&gt;Rogers &lt;/i&gt;test and rendered his DNA-related evidence moot. &lt;i&gt;Parker&lt;/i&gt;, &lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;/p&gt;

&lt;blockquote&gt;Blood tests and DNA tests will not help an individual document his or her descent from a specific Federally recognized tribe or tribal community. The only value blood tests and DNA tests hold for persons trying to trace ancestry to a particular tribe is that testing, if the tribe accepts it, can establish if an individual is biologically related to a tribal member.&lt;/blockquote&gt;

&lt;p&gt;U.S. Dept. of Interior Bureau of Indian Affairs, "Tracing American Indian and Alaska Native Ancestry," https://www.bia.gov/guide/tracing-american-indian-and-alaska-native-aian-ancestry (accessed May 22, 2024).&lt;/p&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;hr&gt;
&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;div class="de-writing"&gt;
&lt;div class="de-author"&gt;
&lt;p&gt;&lt;b&gt;MUSSEMAN, V.P.J., SPECIALLY CONCURRING:&lt;/b&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#182;1 I join the Court's opinion in full. Ultimately, Appellant fails to meet the first prong of the &lt;i&gt;Rogers&lt;/i&gt;&lt;span&gt;&lt;/span&gt;&lt;i&gt;prima facie&lt;/i&gt; evidence that he has some degree of Indian blood. I write separately, however, to clarify the rationale behind our finding of recognition under the second prong of the &lt;i&gt;Rogers&lt;/i&gt; test. &lt;i&gt;See supra&lt;/i&gt; &amp;#182; 11.&lt;/p&gt;

&lt;p&gt;&amp;#182;2 In addition to the first prong of the &lt;i&gt;Rogers&lt;/i&gt; test requiring some quantum of Indian blood, which the Court focuses on in its Opinion, courts must also determine Indian recognition in the second prong. In this second prong, courts consider the following factors:&lt;/p&gt;

&lt;blockquote&gt;1) tribal enrollment;&lt;br&gt;
2) government recognition formally and informally through receipt of assistance reserved only to Indians;&lt;br&gt;
3) enjoyment of the benefits of tribal affiliation; and&lt;br&gt;
4) social recognition as an Indian through residence on a reservation and participation in Indian social life.&lt;/blockquote&gt;

&lt;p&gt;&lt;i&gt;Wadkins v. State&lt;/i&gt;, &lt;span&gt;2022 OK CR 2&lt;/span&gt;&lt;span&gt;504 P.3d 605&lt;/span&gt;&lt;i&gt;Parker v. State&lt;/i&gt;, &lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;span&gt;495 P.3d 653&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;3 In this case, the trial court below found, and the record before this Court demonstrated, recognition as an Indian by a tribe or the federal government pursuant to the above factors, thus demonstrating &lt;i&gt;prima facie&lt;/i&gt; evidence of recognition under &lt;i&gt;Rogers&lt;/i&gt;. Nonetheless, without &lt;i&gt;prima facie&lt;/i&gt; evidence that Appellant has some degree of Indian blood to satisfy the first prong of the &lt;i&gt;Rogers&lt;/i&gt; two-pronged test, Appellant's claim that the court lacked jurisdiction is foreclosed.&lt;/p&gt;

&lt;p&gt;&amp;#182;4 I am authorized to state Judge Hudson joins in this separate writing.&lt;/p&gt;

&lt;div class="fn-container"&gt;
&lt;p&gt;&lt;b&gt;FOOTNOTES&lt;/b&gt;&lt;/p&gt;

&lt;div class="fn-footnote"&gt;
&lt;p&gt;&lt;span&gt;&lt;/span&gt;&lt;i&gt;United States v. Rogers&lt;/i&gt;, 45 U.S. 567 (1846).&lt;/p&gt;
&lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;hr&gt;
&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;div class="de-writing"&gt;
&lt;div class="de-author"&gt;
&lt;p&gt;&lt;b&gt;LUMPKIN, JUDGE: CONCUR IN RESULTS&lt;/b&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#182;1 While I concur in the results reached in this case, I write to address some misstatements of this Court's scope of review on appeal.&lt;/p&gt;

&lt;p&gt;&amp;#182;2 In Proposition I, the opinion states that this Court reviews for "clear error" and cites to &lt;i&gt;Parker v. State,&lt;/i&gt; &lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;span&gt;495 P.3d 653&lt;/span&gt;&lt;i&gt; Parker&lt;/i&gt; we stated:&lt;/p&gt;

&lt;blockquote&gt;We afford a district court's factual findings that are supported by the record great deference and review those findings for an abuse of discretion. Young v. State, &lt;span&gt;2000 OK CR 17&lt;/span&gt;&lt;span&gt;12 P.3d 20&lt;/span&gt;&lt;span&gt;2007 OK CR 33&lt;/span&gt;&lt;span&gt;168 P.3d 1139&lt;/span&gt;&lt;span&gt;2005 OK CR 24&lt;/span&gt;&lt;span&gt;126 P.3d 625&lt;/span&gt;&lt;/blockquote&gt;

&lt;p&gt;&lt;span&gt;2021 OK CR 17&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;3 Once before, "clear error" was used in &lt;i&gt;Underwood v. State&lt;/i&gt;, &lt;span&gt;2011 OK CR 12&lt;/span&gt;&lt;span&gt;252 P.3d 221&lt;/span&gt;&lt;/p&gt;

&lt;blockquote&gt;Appellant timely renewed his motion to suppress at trial. These issues have been preserved for full appellate review. We review the district court's factual findings for clear error;&lt;b&gt; &lt;/b&gt;its analysis of applicable law is reviewed de novo. &lt;i&gt;State v. Pope&lt;/i&gt;, &lt;span&gt;2009 OK CR 9&lt;/span&gt;&lt;span&gt;204 P.3d 1285&lt;/span&gt;&lt;/blockquote&gt;

&lt;p&gt;&lt;span&gt;2011 OK CR 12&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;4 At that time, I provided the following analysis:&lt;/p&gt;

&lt;blockquote&gt;However, I do have concerns about the syntax used in describing our appellate review. As to Proposition 1, the opinion states "we review the district court's factual findings for clear error ..." when, in fact, on appeal, this Court reviews a trial court's ruling on the facts for an abuse of discretion. "An abuse of discretion has been defined as a clearly erroneous conclusion and judgment, one that is clearly against the logic and effect of the facts presented." Marshall v. State, &lt;span&gt;2010 OK CR 8&lt;/span&gt;&lt;span&gt;232 P.3d 467&lt;/span&gt;&lt;span&gt;1998 OK CR 32&lt;/span&gt;&lt;span&gt;960 P.2d 368&lt;/span&gt;&lt;span&gt;2006 OK CR 46&lt;/span&gt;&lt;span&gt;147 P.3d 245&lt;/span&gt;&lt;span&gt;1999 OK CR 12&lt;/span&gt;&lt;span&gt;989 P.2d 945&lt;/span&gt;&lt;span&gt;1997 OK CR 78&lt;/span&gt;&lt;span&gt;950 P.2d 839&lt;/span&gt;&lt;span&gt;799 P.2d 1122&lt;/span&gt;&lt;span&gt;232 P.2d 949&lt;/span&gt;&lt;/blockquote&gt;

&lt;p&gt;&lt;span&gt;2011 OK CR 12&lt;/span&gt;&lt;/p&gt;

&lt;p&gt;&amp;#182;5 I continue to adhere to that analysis as the correct method to apply to cases on appeal where allegations of error have been preserved. When objections have not been made at trial, thus preserving the claim of error, we continue to apply the "plain error" analysis set forth in &lt;i&gt;Simpson v.&lt;/i&gt; &lt;i&gt;State&lt;/i&gt;, &lt;span&gt;1994 OK CR 40&lt;/span&gt;&lt;span&gt;876 P.2d 690&lt;/span&gt;&lt;i&gt;Hogan v. State&lt;/i&gt;, &lt;span&gt;2006 OK CR 19&lt;/span&gt;&lt;span&gt;139 P.3d 907&lt;/span&gt;&lt;/p&gt;
&lt;/div&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;p&gt;&amp;#160;&lt;/p&gt;

&lt;!--END DOCUMENT--&gt;
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